                  Case 22-10293      Doc 15     Filed 06/15/22     Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF NORTH CAROLINA
                                       OFFICE OF THE CLERK
                                         P.O. BOX 26100
                            GREENSBORO, NORTH CAROLINA 27402-6100


REID WILCOX                                                             TELEPHONE COM-(336) 358-4000
         CLERK




                                        MEMORANDUM


      TO:        Mya Corbett

      FROM:      CLERKS OFFICE

      DATE:      June 15, 2022

      RE:        Mya Corbett

                 CASE NO.     22-10293

                 NOTICE TO AFFECTED PARTIES OF AMENDMENT


           Please take note that Bankruptcy Rule 1009 requires the debtor
      to give notice of any amendments of voluntary petitions, lists,
      schedules (including Exemption Form 91-C) and statements to the
      trustee and to any entity affected by the amendment.

           If the debtor is adding creditors to the schedules or matrix,
      the additional creditors must be notified of the amendment and a
      copy of any notices mailed to creditors in this case should be sent
      to those creditors. A certificate of service should then be filed
      with the Court.

           If the debtor is amending the claim for exemptions, the debtor
      must notify all creditors of the amendment, and file a Certificate
      of Service with the Court.

           If you have any questions regarding this matter, please contact
      the Clerks Office.


                                                    By:      Tiffany Shoffner
                                                             Deputy Clerk
